           Case 1:19-cv-00210-RA Document 37 Filed 11/15/19 Page 1 of 1
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UNITED STATES DISTRICT COURT                                               DOC#:
SOUTHERN DISTRICT OF NEW YORK                                              DATE FILED: \\ /IS( Ii


 RAFAEL FIGUEROA,

                                  Plaintiff,

                             V.
                                                                           No. l 9-CV-210 (RA)
 IRENE YAGUDAEV; SOLOMON YAGUDAEV;
 NEW YORK PLUMBING WORKS, INC.; APS                                               ORDER
 ELECTRIC INC.; GIRON CONTRACTING INC.;
 INCLINATOR ELEVETTE CO. OF NEW YORK,
 INC.; R.C.M. ELECTRIC CORP.; SAL D'AMICO
 CONSTRUCTION, INC.,

                                  Defendants.

RONNIE ABRAMS, United States District Judge:

         On November 13, 2019, Plaintiff Rafael Figueroa filed a motion to remand this action to the

Supreme Court of New York, Bronx County. Dkt. 35. Two days later, the Court held a previously

scheduled status conference, at which counsel for Plaintiff and for Defendants Irene Yagudaev,

Solomon Yagudaev, Giron Contracting Inc., and Sal D' Amico Construction, Inc. appeared. 1 At the

conference, the parties all agreed that there was no legal basis for jurisdiction in federal court because

there is not complete diversity. The parties, therefore, consented to remanding the case to state court.

         Accordingly, this case is remanded to state court, and the Clerk of Court is respectfully

directed to close this action in its entirety.

SO ORDERED.

Dated:      November 15, 2019
            New York, New York




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           To date, Defendants New York Plumbing Works, Inc., APS Electric Inc., Inclinator Elevette Co. of New
York, Inc., and R.C.M. Electric Corp. and third-party Defendant NRG Magic Construction Inc. have not appeared.
